      Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 1 of 48



 1   ROME & ASSOCIATES, A.P.C.
     Eugene Rome (admitted pro hac vice)
 2   Sridavi Ganesan (admitted pro hac vice)
     Brianna Dahlberg (admitted pro hac vice)
 3   2029 Century Park East, Suite 450
     Los Angeles, CA 90067
 4   Telephone: 310-282-0690
     Facsimile: 310-282-0691
 5   erome@romeandassociates.com
     sganesan@romeandassociates.com
 6   bdahlberg@romeandassociates.com
 7
     FENNEMORE CRAIG, P.C.
 8   Ray K. Harris (No. 007408)
     Mario C. Vasta (No. 033254)
 9   2394 E. Camelback Road, Suite 600
     Phoenix, AZ 85016
10   Telephone: (602) 916-5000
     rharris@fclaw.com
11   mvasta@fclaw.com
12   Attorneys for Defendants
     Namecheap, Inc. and WhoisGuard, Inc.
13
                               UNITED STATES DISTRICT COURT
14
                                   DISTRICT OF ARIZONA
15
     Facebook, Inc., a Delaware corporation;        CASE NO. 2:20-cv-00470-GMS
16   Instagram, LLC, a Delaware limited liability
     company; and WhatsApp Inc., a Delaware         DEFENDANT WHOISGUARD, INC.’S
17   corporation,                                   FIRST AMENDED COUNTERCLAIM

18                     Plaintiffs,

19          v.                                      DEMAND FOR JURY TRIAL

20   Namecheap, Inc., a Delaware corporation; and
     WhoisGuard, Inc., a Republic of Panama
21   corporation,

22                     Defendants.

23   WhoisGuard, Inc., a Republic of Panama
     corporation,
24
                       Counterclaimant,
25
            v.
26
     Facebook, Inc., a Delaware corporation,
27
                       Counterclaim Defendant.
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      Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 2 of 48



 1          FIRST AMENDED COUNTERCLAIM AGAINST FACEBOOK, INC.
 2          Defendant and Counterclaimant WhoisGuard, Inc. (“WhoisGuard”), for its First
 3   Amended Counterclaim against Plaintiff and Counter Defendant Facebook, Inc.
 4   (“Facebook”), alleges as follows:
 5                                JURISDICTION AND VENUE
 6          1.      The Court has jurisdiction over the subject matter of this counterclaim
 7   pursuant to 28 U.S.C. §§ 1331 and 1338(a), as this counterclaim arises under the trademark
 8   laws of the United States.
 9          2.      Venue is proper and should be maintained in this Court pursuant to 28 U.S.C.
10   § 1391.
11                                         THE PARTIES
12          3.      Based on the allegations in paragraph 20 of the original Complaint,
13   WhoisGuard is informed and believes and therefore alleges that Facebook is a Delaware
14   corporation with its principal place of business in Menlo Park, California.
15          4.      WhoisGuard is a Panama corporation with its principal place of business in
16   Panama City, Republic of Panama.
17                                  FACTUAL ALLEGATIONS
18                  A.     Beginning in 2008, Facebook Filed Applications for the FB Mark
19          5.      Based on the allegations of paragraph 37 of the original Complaint, Facebook
20   claims to own “numerous” United States registrations for its asserted FB wordmark, i.e.,
21   the letters “FB” in standard characters without regard to any particular design, font, or style
22   (hereinafter referred to as the “FB Mark”), including the following federal trademark
23   registrations (collectively, the “FB Registrations”):
24               a. United States Registration Number 4,659,777 (the ’777 Registration);
25               b. United States Registration Number 4,764,764 (the ’764 Registration);
26               c. United States Registration Number 4,782,234 (the ’234 Registration); and
27               d. United States Registration Number 4,782,235 (the ’235 Registration).
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      Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 3 of 48



 1         6.      Based on public information made available by the United States Patent and
 2   Trademark Office (USPTO), the FB Registrations list the following services:
 3              a. ’777 Registration:
 4                        International Class 035: Promoting the goods and services of others
 5                        over the Internet
 6              b. ’764 Registration:
 7                        International Class 042: Computer services, namely, hosting online
 8                        web facilities for others for organizing and conducting online
 9                        meetings, gatherings, and interactive discussions; computer services in
10                        the nature of customized web pages featuring user defined
11                        information, personal profiles and information
12              c. ’234 Registration:
13                        International Class 045: Internet based social introduction and social
14                        networking services
15              d. ’235 Registration:
16                        International Class 038: Providing online chat rooms and electronic
17                        bulletin boards for transmission of messages among registered users in
18                        the fields of collegiate life, general interest, classifieds, virtual
19                        community, and for social networking; and peer-to-peer photo sharing
20                        services, namely, electronic transmission of digital images among
21                        Internet and mobile device users
22         7.      Facebook filed the application which eventually matured into the ’777
23   Registration on July 14, 2008.
24         8.      Facebook filed the application which eventually matured into the ’764
25   Registration on July 14, 2008.
26         9.      Facebook filed the application which eventually matured into the ’234
27   Registration on March 12, 2012.
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      Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 4 of 48



 1          10.    Facebook filed the application which eventually matured into the ’235
 2   Registration on March 6, 2012.
 3          11.    Based on public information made available by the USPTO, Facebook filed
 4   the applications for each of the FB Registrations as intent-to-use applications pursuant to
 5   15 U.S.C. § 1051(b), supporting an inference that as of the time the applications were filed
 6   Facebook was not yet using the FB Mark.
 7                 B.     For Years, Facebook Filed Boilerplate Requests for Extensions of
 8                        Time to Submit Proof of Use of the FB Mark in Commerce
 9          12.    In connection with each of the FB Registrations, Facebook filed several years
10   of requests for extensions of time to submit Statements of Use and specimens purporting to
11   demonstrate use in commerce to the USPTO after the applications were allowed.
12          13.    With respect to the ’777 Registration, the USPTO issued a Notice of
13   Allowance on November 1, 2011. Facebook requested five extensions of time. Facebook
14   did not submit a Statement of Use and alleged specimen until October 30, 2014, almost
15   three years after allowance. A Statement of Use and specimen must be filed no later than
16   three years after a Notice of Allowance or the application will be deemed abandoned.
17          14.    With respect to the ’764 Application, the USPTO issued a Notice of
18   Allowance on November 8, 2011. Facebook requested five extensions of time. Facebook
19   did not submit a Statement of Use and alleged specimen until November 7, 2014, almost
20   three years after allowance.
21          15.    With respect to the ’234 Application, the USPTO issued a Notice of
22   Allowance on April 9, 2013. Facebook requested four extensions of time. Facebook did not
23   submit a Statement of Use and alleged specimen until May 12, 2015, more than two years
24   after allowance.
25          16.    With respect to the ’235 Application, the USPTO issued a Notice of
26   Allowance on April 9, 2013. Facebook requested four extensions of time. Facebook did not
27   submit a Statement of Use and alleged specimen until May 12, 2015, more than two years
28   after allowance.



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      Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 5 of 48



 1          17.    In each of the requests for extension for all FB Registrations, Facebook made
 2   the representation to the USPTO that it had “made the following ongoing efforts to use the
 3   mark in commerce on or in connection with each of those goods/services covered by the
 4   extension request: product or service research or development.” In some of the extension
 5   requests, Facebook also stated that it was engaged in “market research.” Thus, identical
 6   boilerplate grounds for extensions were repeatedly made by Facebook about its alleged
 7   ongoing efforts to use the FB Mark in commerce.
 8                 C.     Facebook Submitted Deficient Specimens
 9          18.    In each of the Statements of Use for the FB Registrations, Facebook’s
10   attorney declared to the USPTO under penalty of perjury on Facebook’s behalf that
11   Facebook’s first use in commerce of the FB Mark occurred on “04/00/2014.”
12          19.    Facebook submitted multiple requests for extensions of time to submit a
13   Statement of Use after April 2014, the date of purported first use in commerce ultimately
14   identified in the Statements of Use.
15          20.    For example, in each of the ’234 and ’235 Registrations, Facebook filed
16   requests for extensions of time on October 1, 2014 and April 8, 2015. In each of these
17   filings, Facebook represented to the USTPO that it had “a continued bona fide intention” to
18   use the FB Mark in commerce on or in connection with all of the services—thus
19   representing that it was not then currently using the FB Mark in connection with those
20   services—and that it was engaged in ongoing “product or service research or development”
21   and “market research” in connection with using the FB Mark in commerce with each of the
22   services. When Facebook submitted its Statements of Use for the ’234 and ’235
23   Registrations, it represented that the FB Mark had been first used in commerce on
24   “04/00/2014.”
25          21.    In connection with its applications for each of the FB Registrations, Facebook
26   submitted as specimens of its purported use in commerce screenshots from the FB
27   Newswire Facebook page, representative examples of which are reproduced below:
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     Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 6 of 48



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18       (alleged proof of use in commerce for the ’235, ’234, and ’764 Registrations)
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      Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 7 of 48



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21          (alleged proof of use in commerce for the ’777 Registration)

22          22.    The specimens submitted by Facebook do not show the FB Mark in use in

23   commerce in connection with all of the services specified in the FB Registrations. A service

24   mark specimen must show the mark as actually used in the sale or advertising of the services

25   recited in the application and must show a direct association between the mark and the

26   services. TMEP § 1301.04; 37 C.F.R.§ 2.56(b)(2). Facebook’s FB Newswire specimens fail

27   to meet these criteria with respect to the services recited in the FB Registrations.

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      Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 8 of 48



 1          23.    For example, a banner ad along the right side of the FB Newswire page does
 2   not show the FB Mark used in the sale or advertising of Facebook’s services “promoting
 3   the goods and services of others over the Internet,” nor does the specimen show a direct
 4   association between the FB Mark and any of the services at issue—particularly given that
 5   sponsored ads appear in the same position on the page for other Facebook webpages, not
 6   just the FB Newswire page.
 7          24.    The specimens also fail to show use of the FB mark applied for and sought to
 8   be registered. The designations in the top center are a color design, “FBNewswire,” (“FB”
 9   in the color blue), followed by the phrase, “POWERED BY storyful.” The other use at the
10   top left, is “FB Newswire,” in white letters followed by a blue and white “check mark” in a
11   circle design, with the word “Community” beneath in white lettering. Such uses, assuming
12   any trademark use at all (there is none) are at best a material alteration of the FB Mark and
13   not a trademark use of the mark sought to be registered. Such use does not function as a
14   trademark use of the FB Mark. The displayed uses of the mark display different marks and
15   do not display the FB Mark sought to be registered. The website screenshots are also
16   missing important information such as a URL or browser tab and are displayed in a way
17   that suggests they were not published. On information and belief, Facebook never used the
18   FB Mark as a trademark or service mark prior to its filing of its Statements of Use.
19          25.    The Examining Attorney for the ’777 Registration issued an Office Action on
20   November 12, 2014 in response to Facebook’s Statement of Use rejecting the FB Newswire
21   specimen as “unacceptable” because the specimen does not demonstrate that Facebook is
22   using the FB Mark in “promoting the goods and services of others over the Internet.”
23   Nonetheless, just one week later, and without receiving any written response from Facebook
24   to the Office Action, withdrawing the Office Action, or noting any informal discussion to
25   resolve the Office Action, the USPTO issued a Notice of Acceptance for the Statement of
26   Use for the ’777 Registration.
27          26.    The Examining Attorney for the ’764 Registration issued an Office Action on
28   November 14, 2014 rejecting the FB Newswire specimen as unacceptable because “the



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      Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 9 of 48



 1   specimen does not show the applied-for mark in use in commerce in connection with any
 2   of the services specified in the statement of use.” The Examining Attorney further noted:
 3   “Specifically, the specimen shows use of the mark with a news and current events page
 4   and does not demonstrate use with the identified services.” In response to the Office
 5   Action, Facebook submitted additional screenshots from the same alleged FB Newswire
 6   page. This time, the USPTO accepted the specimens and granted the registration although
 7   the specimens and the proof needed to support a Statement of Use were lacking.
 8          27.       The FB Newswire page which Facebook used to obtain the FB Registrations
 9   ceased operating on or about October 18, 2016, after Facebook had obtained the FB
10   Registrations.
11          28.       Upon information and belief, Facebook made no trademark use of the FB
12   Mark in commerce in connection with any of the services in the FB Registrations for at least
13   three years after the FB Newswire page was shut down.
14          29.       After obtaining the FB Registrations, Facebook used its FB Registrations for
15   the purpose of initiating domain name dispute proceedings, targeting domains that contain
16   the character string “FB.” Facebook’s conduct misuses our United States trademark law and
17   registration system.
18                    D.    In 2019, Facebook Filed an Intent-to-use Application for the FB
19                          Mark for More Than 400 Services, Including Those in the FB
20                          Registrations
21          30.       On November 4, 2019, Facebook filed an intent-to-use application pursuant
22   to 15 U.S.C. § 1051(b) for the FB Mark, which is assigned United States Serial Number
23   88679058 (“2019 FB Application”). The 2019 FB Application is currently under
24   examination although it is suspended.
25          31.       In the 2019 FB Application, Facebook sought to register the FB Mark (i.e.,
26   the letters “FB” in standard characters without claim to any particular font style, size, or
27   color) in connection with the following services:
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     Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 10 of 48



 1          a. International Class 009: Downloadable software for engaging in social
 2             networking and interacting with online communities; Downloadable
 3             computer    software    development      tools;   Downloadable      application
 4             programming interface (API) software for use in building software
 5             applications; Downloadable application programming interface (API)
 6             software which facilitates online services for social networking and for data
 7             retrieval, upload, download, access and management; Downloadable software
 8             for creating, managing, and interacting with an online community;
 9             Downloadable software for organizing events, searching for events,
10             calendaring and managing events; Downloadable software for creating,
11             editing, uploading, downloading, accessing, viewing, posting, displaying,
12             tagging, blogging, streaming, linking, annotating, indicating sentiment about,
13             commenting on, embedding, transmitting, and sharing or otherwise providing
14             electronic media or information via computer the internet and communication
15             networks; Downloadable software for modifying and enabling transmission
16             of images, audio, audio visual and video content and data; Downloadable
17             software for sending and receiving electronic messages, alerts, notifications
18             and reminders; Downloadable search engine software; Downloadable
19             software for use in creating, managing, measuring, and disseminating
20             advertising of others; Downloadable software for mapping; Downloadable
21             software   for   planning   activities   with     other   users   and    making
22             recommendations; Downloadable software for social and destination
23             mapping; Location-aware downloadable software for searching, determining
24             and sharing locations; downloadable software, namely, an application
25             providing social networking functionalities; Downloadable software for
26             creating, managing and accessing groups within virtual communities;
27             Downloadable     software    for   location-based     searching    and    alerts;
28             Downloadable software for searching and identifying employment



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     Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 11 of 48



 1             opportunities; Downloadable software for identifying and allowing users to
 2             contact government representatives; Downloadable software providing a
 3             virtual marketplace; Downloadable software providing location-based
 4             weather information; Downloadable software providing, linking to, or
 5             streaming news or current events information; Downloadable software in the
 6             nature of a mobile application for creating, sharing, disseminating and posting
 7             advertising; Downloadable software for geo-location based advertising and
 8             product and service promotion; Downloadable software for viewing and
 9             interacting with a feed of images, audio-visual and video content, and
10             associated text and data; downloadable software for creating and managing
11             social media profiles and user accounts; Downloadable software for
12             uploading, downloading, streaming, archiving, transmitting, and sharing
13             images, audio-visual and video content and associated text and data;
14             Downloadable software that enables individuals, groups, companies, and
15             brands to create and maintain an online presence for marketing purposes;
16             Downloadable software for advertisers to communicate and interact with
17             online communities; Downloadable software for streaming multimedia
18             entertainment content; Downloadable software for use in taking and editing
19             photographs and recording and editing videos; Downloadable software for
20             sending and receiving electronic messages, graphics, images, audio and audio
21             visual content via the internet and communication networks; Downloadable
22             software in the nature of a mobile application for social networking;
23             Downloadable software for online charitable fundraising and making and
24             soliciting financial donations; Computer hardware; Downloadable software
25             for use as an application programming interface (API); Downloadable
26             software for modifying photographs, images and audio, video, and audio-
27             visual content with photographic filters and augmented reality (AR) effects,
28             namely, graphics, animations, text, drawings, geotags, metadata tags,



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     Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 12 of 48



 1             hyperlinks; Downloadable software for the collection, managing, editing,
 2             organizing, modifying, transmission, sharing, and storage of data and
 3             information; Downloadable e-commerce computer software to allow users to
 4             perform electronic business transactions via a global computer and
 5             communication networks; Ad server, namely, a computer server for storing
 6             advertisements and delivering advertisements to websites; Downloadable
 7             virtual reality game software; Downloadable augmented reality game
 8             software; Downloadable mixed reality game software; Downloadable virtual
 9             reality game computer hardware; Downloadable augmented reality game
10             computer hardware; Downloadable mixed reality game computer hardware;
11             Computer peripheral devices; Downloadable virtual reality software for use
12             in enabling computers, video game consoles, handheld video game consoles,
13             tablet computers, mobile devices, and mobile telephones to provide virtual
14             reality experiences; Downloadable electronic game software for wireless
15             devices; Downloadable electronic game software for handheld electronic
16             devices; Downloadable electronic game software; Wearable computer
17             peripherals for computers, tablet computers, mobile devices and mobile
18             telephones; Downloadable virtual reality software for providing virtual reality
19             experiences; Downloadable augmented reality software for providing
20             augmented reality experiences; Downloadable mixed reality software for
21             providing mixed reality experiences; Downloadable video game software;
22             Downloadable      interactive   multimedia     computer    game     programs;
23             Downloadable electronic game programs; Downloadable computer game
24             software; Headsets for use with computers; Laser equipment for non-medical
25             purposes; Downloadable software for integrating electronic data with real
26             world environments for the purposes of entertainment, education, gaming,
27             communicating, and social networking; Downloadable software for accessing
28             and viewing text, images and electronic data relating to conferences in the



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     Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 13 of 48



 1             field of software development; Downloadable software to enable
 2             development, assessment, testing, and maintenance of mobile software
 3             applications for portable electronic communication devices, namely, mobile
 4             phones,     smartphones,   handheld   computers     and       computer   tablets;
 5             Downloadable software for converting natural language into machine-
 6             executable commands; Downloadable software, namely, an interpretive
 7             interface for facilitating interaction between humans and machines;
 8             Downloadable artificial intelligence software, namely, machine learning
 9             software, visual perception software, speech or language recognition
10             software, decision-making software, translation software, touch recognition
11             software, conversational query software, software for converting natural
12             language into machine-executable commands, and digital assistant software;
13             Downloadable personal assistant software for searching the internet, making
14             appointments and reservations, facilitating purchases, providing customer-
15             specific information to meet individual need including customer-specific
16             reminders; Downloadable social assistant software for searching the internet,
17             making appointments and reservations, facilitating purchases, providing
18             customer-specific information to meet individual need including customer-
19             specific reminders; Downloadable software development tools to enable
20             mobile software applications to access backend services, namely, data
21             storage, push notifications, and user management; Downloadable software for
22             making reservations and bookings; Downloadable software for ordering
23             and/or purchasing goods and services; Downloadable software for wireless
24             content, data and information delivery; Downloadable software to enable
25             accessing, displaying, editing, linking, sharing and otherwise providing
26             electronic media and information via the internet and communications
27             networks;    Downloadable    software    for   facilitating     interaction   and
28             communication between humans and AI (artificial intelligence) platforms;



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     Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 14 of 48



 1             Downloadable application programming interface (API) software for
 2             allowing data retrieval, upload, access and management; Downloadable
 3             software for finding content and content publishers, and for subscribing to
 4             content; Downloadable software for organizing images, video, and audio-
 5             visual content using metadata tags; Interactive photo and video equipment,
 6             namely, kiosks for capturing, uploading, editing, printing and sharing digital
 7             images and video; Downloadable software in the nature of Application
 8             programming interface (API) for use in developing AI (artificial intelligence)
 9             platforms, namely, bots, virtual agents and virtual assistants; Downloadable
10             software for organizing events by facilitating communication between
11             organizers and participants; Virtual reality computer hardware; Virtual reality
12             game computer hardware; Downloadable virtual reality software for use in
13             enabling computers, tablet computers, mobile devices, and mobile telephones
14             to provide virtual reality experiences; Wearable peripherals for computers,
15             tablet computers, mobile devices and mobile telephones, namely,
16             configurable head-mounted video displays; Augmented reality computer
17             hardware; Virtual reality headsets; Augmented reality headsets; Virtual
18             reality glasses; Augmented reality glasses; Downloadable virtual reality
19             software for navigating a virtual reality environment; Downloadable
20             augmented reality software for navigating an augmented reality environment;
21             Downloadable augmented reality software for use in enabling computers,
22             tablet computers, mobile devices, and mobile telephones to provide
23             augmented reality experiences; Headsets for virtual reality games; Headsets
24             for augmented reality games; Computer peripherals in the nature of handheld
25             virtual reality controllers; Computer peripherals in the nature of handheld
26             augmented reality controllers; Downloadable video and computer game
27             programs; Downloadable interactive entertainment software for online
28             gaming; Downloadable gesture recognition software; Motion tracking



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     Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 15 of 48



 1             sensors for virtual reality technology; Motion tracking sensors for augmented
 2             reality technology; Downloadable computer software for controlling the
 3             operation of audio and video devices; Digital media streaming devices;
 4             Earphones; Headphones; Downloadable video display software; Video
 5             display hardware, namely, video drivers for video eyewear; Downloadable
 6             software for navigating a virtual reality environment; Downloadable software
 7             for use in enabling computers, tablet computers, mobile devices, and mobile
 8             telephones to provide virtual reality and augmented reality experiences;
 9             Downloadable virtual reality software for object tracking, motion control and
10             content visualization; Downloadable augmented reality software for object
11             tracking, motion control and content visualization; Downloadable virtual
12             reality software for users to experience virtual reality visualization,
13             manipulation and immersion; Downloadable augmented reality software for
14             users to experience augmented reality visualization, manipulation and
15             immersion; Downloadable virtual reality software for operating virtual reality
16             headsets; Downloadable augmented reality software for operating augmented
17             reality headsets; Downloadable virtual reality software for accessing
18             interactive entertainment; Downloadable augmented reality software for
19             accessing interactive entertainment; Virtual reality headsets; Downloadable
20             software for recording, storing, transmitting, receiving, displaying and
21             analyzing data from wearable computer hardware; Wearable computing
22             devices comprised primarily of downloadable software and electronic display
23             screens for connection to computers, tablet computers, mobile devices, and
24             mobile phones in order to enable virtual reality and augmented reality world
25             experiences; Goggles for enabling virtual reality, augmented reality world
26             experiences; Downloadable software for use in creating and designing virtual
27             reality and augmented reality software; Downloadable application
28             programming interface (API) computer software for developing virtual reality



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     Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 16 of 48



 1             and augmented reality experiences; Downloadable software and firmware for
 2             running operating system programs; Downloadable computer operating
 3             systems; Downloadable software for tracking motion in, visualizing,
 4             manipulating, viewing, and displaying augmented and virtual reality
 5             experiences; Downloadable software, firmware and hardware for use in
 6             visual, voice, audio, motion, eye and gesture tracking and recognition;
 7             Computer hardware and downloadable software for operating sensor devices;
 8             Electronic motion and sound sensor devices, cameras, projectors, and
 9             microphones for gesture, facial, and voice detection, capture and recognition;
10             Computer hardware and downloadable software for detecting objects, user
11             gestures and commands; Downloadable software and firmware for
12             controlling, configuring and managing controllers; Downloadable software
13             and firmware for enabling electronic devices to share data and communicate
14             with each other; Downloadable computer operating system software;
15             Downloadable software driver programs for electronic devices for enabling
16             computer hardware and electronic devices to communicate with each other;
17             Cameras; Batteries; Battery chargers; Battery cases; Battery packs; Power
18             battery charging and power management devices for mobile electronic
19             devices; Battery charging docks; Battery charging stands for mobile
20             electronic devices; Base battery chargers for mobile electronic devices;
21             Portable battery chargers; External battery chargers; Wireless battery
22             charging cases; Rechargeable electric battery devices, namely, rechargeable
23             batteries and portable power supplies; Rechargeable external battery packs
24             for use with mobile electronic devices; Chargers for batteries; Power
25             adapters; Electrical adapters; Electrical and electronic connectors; Bags and
26             cases specially adapted for cell phones and tablet computers; Briefcases,
27             backpacks and carrying cases specially adapted for cell phones and tablet
28             computers; Cases specially adapted for cell phones and tablet computers;



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     Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 17 of 48



 1             Faceplates for cell phones and tablet computers; Protective covers and cases
 2             for cell phones and tablet computers; Protective sleeves for cell phones and
 3             tablet computers; Holders, armbands, clips and carrying cases specially
 4             adapted for cell phones and tablet computers; Stands specially adapted for
 5             cell phones and tablet computers; Holders for cell phones and tablet
 6             computers; Remote controls for mobile electronic devices; Electrical audio
 7             and speaker cables and connectors; Audio speakers; Docking stations for
 8             mobile electronic devices; Loudspeakers; Electronic cables and structural
 9             parts thereof; Electric cables; Connection cables; Cables for optical signal
10             transmission; Power cables and cable connectors; Microphones; Audio
11             receivers; Audio transmitters; Wireless computer peripherals; Head-mounted
12             video displays; Receivers of electronic signals; Video receivers; Wireless
13             transmitters and receivers for reproduction of sound and signals; Electric
14             sensors; Sensors for monitoring physical movements; Downloadable
15             software for processing images, graphics, audio, video, and text;
16             Downloadable software, namely, instant messaging software, file sharing
17             software, communications software for electronically exchanging data, audio,
18             video images and graphics via computer, mobile, wireless, and
19             communication networks; Downloadable software for personal information
20             management, and data synchronization software; Downloadable software for
21             managing social networking content, interacting with a virtual community,
22             and transmission of images, audio, audio-visual and video content,
23             photographs, videos, data, text, messages, comments, advertisements, media
24             advertising communications and information; Downloadable software for
25             displaying and sharing a user's location and finding, locating, and interacting
26             with other users and places; Downloadable software for customer relationship
27             management (CRM); Downloadable software for providing consumer
28             information; Downloadable messaging software; Downloadable software for



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     Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 18 of 48



 1             facilitating and arranging for the financing and distribution of fundraising and
 2             donations; Downloadable software for facilitating voice over internet
 3             protocol (VOIP) calls, phone calls, video calls, text messages, instant message
 4             and online social networking services; Telecommunications equipment for
 5             providing third party access to, and enabling the transmission of video, data
 6             and voice over, global communications networks, namely, mobile and access
 7             computer and mobile telephone terminals, base transceiver stations and
 8             structural wireless transceiver radio parts thereof, data transceivers, data
 9             repeaters, wireless routers and power switches, electronic transmission
10             circuits, integrated circuits, computer hardware, mobile cloud computer
11             servers, multiplexers, digital signal processors, radio frequency signal
12             processors, mobile switching circuits being electric circuit switches, air traffic
13             electrical controllers, mobility electrical controllers, access electrical
14             controllers, remote port electrical controllers, radio ports being data access
15             ports for use with electrical control panels for connecting multiple data and
16             electrical devices, antennas, electronic radio transmitters, downloadable
17             software for operating telecommunications applications, and mobile core
18             networks comprising data transceivers, wireless network and gateway routers
19             for collection, transmission and management of data, voice and video;
20             Downloadable communication software and communication computer
21             hardware for providing access to the Internet
22          b. International Class 035: Marketing, advertising and promotion services;
23             Promoting the goods and services of others via computer and communication
24             networks; Providing an online network environment for facilitating the
25             exchange and sale of services and products of third parties via computer and
26             communication networks, namely, provision of an on-line marketplace for
27             buyers and sellers of goods and services; Providing online marketplaces for
28             sellers and buyers of goods and/or services; Providing an online network



                                               17
     Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 19 of 48



 1             environment, namely, web interfaces and mobile interfaces, for connecting
 2             sellers with buyers; Advertising and information distribution services, in
 3             particular, providing classified advertising space on the internet; Online
 4             advertising services and promoting the goods and services of others via the
 5             internet; Advertising services via electronic media; Dissemination of
 6             advertising for others via a global computer network; Promoting the goods
 7             and services of others by means of distributing video advertising on the
 8             internet; Provision of market research and business information services;
 9             Business and advertising services, namely, media planning and media buying
10             for others; Business and advertising services, namely, advertising services in
11             the nature of tracking advertising performance for analyzing advertising data,
12             for reporting advertising data, and for website optimization for optimizing
13             advertising performance; Consulting services in the fields of advertising and
14             marketing; Online retail store services featuring a wide variety of consumer
15             goods of others, gift cards, virtual reality headsets, and virtual reality content
16             and data; Business networking; Employment recruiting services; Providing
17             online computer databases and online searchable databases in the field of
18             online classified advertisements; Charitable services, in particular promoting
19             public awareness about charitable, philanthropic, volunteer, public and
20             community service and humanitarian activities; Organizing exhibitions and
21             events in the field of software and hardware development for commercial or
22             advertising purposes; Association services, namely, promoting the interests
23             of professionals and businesses in the field of mobile software application
24             development; Marketing and advertising consultation services; Advertising,
25             marketing and promoting the goods and services of others by means of
26             providing photo and video equipment at special events; Arranging and
27             conducting special events for commercial, promotional or advertising
28             purposes; Organizing and arranging exhibitions, tradeshows and events for



                                               18
     Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 20 of 48



 1             business purposes; Organizing and conducting events, exhibitions,
 2             expositions and business conferences for commercial purposes in the
 3             interactive entertainment, virtual reality, consumer electronics and video
 4             game entertainment industries; Online retail store services featuring virtual
 5             reality and augmented reality headsets, games, content and digital media;
 6             Providing telephone directory information via global communications
 7             networks; Electronic catalog services featuring a variety of consumer goods
 8             of others; Customer relationship management; Business assistance and
 9             consulting services; Providing commercial information, namely, user
10             comments concerning business organizations and service providers, and other
11             resources; Advertising services, namely, advertising campaign management,
12             targeting, implementation and website optimization services; Marketing
13             research, namely, advertising campaign and consumer preferences research
14             and analysis; Advertising services, namely, scheduling, tracking, and
15             reporting advertising for others; Preparation and realization of media and
16             advertising plans and concepts; Ad serving, namely, placing advertisements
17             on websites for others; Advertising services, namely, targeting and website
18             optimization of online advertising; Business information management,
19             namely, reporting of business information and business analytics in the fields
20             of advertising and marketing; Promoting the public interest and awareness of
21             issues involving access to the internet for the global population; Business
22             consultation in the field of telecommunications; Business management
23             consulting   services   to   enable   business   entities,   non-governmental
24             organizations and non-profit organizations to develop, organize, and
25             administer programs to offer greater access to global communications
26             networks
27          c. International Class 038: Photo sharing and video sharing services, namely,
28             electronic transmission of digital photo files, videos and audio visual content



                                              19
     Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 21 of 48



 1             among internet users; Providing access to computer, electronic and online
 2             databases; Telecommunications services, namely, electronic transmission of
 3             electronic media, data, messages, graphics, images, audio, video and
 4             information; Providing online forums for communication on topics of general
 5             interest; Providing online communications links which transfer mobile device
 6             and internet users to other local and global online locations; Provision of
 7             access to third party websites or to other electronic third party content via a
 8             universal login; Providing online chat rooms, instant messaging services, and
 9             electronic bulletin boards for transmission of messages among users in the
10             field of general interest; Audio, text and video broadcasting services over the
11             internet or other communications networks; Providing access to computer
12             databases in the fields of social networking social introduction; Providing
13             electronic bulletin boards for transmission of messages among users in the
14             field of general interest; Providing an online community forum for users to
15             share and stream information, audio, video, real-time news, entertainment
16             content, or information, to form virtual communities, and to engage in social
17             networking; Photo sharing and video sharing services, namely, electronic
18             transmission of digital photo and video files among internet users; Providing
19             access to computer databases and online searchable databases in the fields of
20             social networking and social introduction; Voice over internet protocol
21             (VOIP) services; Telephony communication services; Peer-to-peer photo and
22             data sharing services, namely, electronic transmission of digital photo files,
23             graphics and audio content among internet users; Telecommunications and
24             peer-to-peer network computer services, namely, electronic transmission of
25             images, audio-visual and video content, photographs, videos, data, text,
26             messages,    advertisements,    media    advertising   communications      and
27             information; Chatroom services for social networking; Streaming and live
28             streaming of video, audiovisual, and interactive audiovisual content via the



                                              20
     Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 22 of 48



 1             internet; Telecommunications services, namely, electronic transmission of
 2             virtual   reality     content   and    data;     Video    conferencing   services;
 3             Teleconferencing services; Telecommunication services, namely, data
 4             transmission and reception services via telecommunication networks; Mobile
 5             phone communication services; Web messaging; Video teleconferencing;
 6             Instant messaging services; Electronic exchange of voice, data, audio, video,
 7             text and graphics accessible via computer and telecommunications networks;
 8             Encrypted electronic transmission and delivery of recovered data; Provision
 9             of access to telecommunication networks and the internet; Providing
10             telecommunications connections to a global computer network for Internet
11             connectivity; Information about telecommunication, namely, providing
12             information in the field of telecommunications; Consulting in the field of
13             telecommunication services, namely, transmission of voice, data, and
14             documents via telecommunications networks
15          d. International Class 041: Providing online educational publications for
16             software developers, namely, information relating to software development;
17             Entertainment services, namely, providing online video games; Providing
18             online video games; Providing online computer games and interactive video
19             games; Providing temporary use of online non-downloadable game software;
20             Entertainment services, namely, providing interactive online video games;
21             Electronic publishing services for others namely, audio, visual, audio-visual,
22             text and graphics in the field of general interest; Entertainment services,
23             namely, providing online video games in the nature of multiplayer and single
24             player games played via the internet or communication networks; Providing
25             information about online computer games and video games via computer or
26             communication networks; Arranging and conducting competitions for video
27             gamers    and       computer    game   players    for    entertainment   purposes;
28             Entertainment services, namely, contest and incentive award programs



                                                21
     Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 23 of 48



 1             designed to recognize, reward and encourage individuals and groups which
 2             engage in self-improvement, self-fulfillment, charitable, philanthropic,
 3             volunteer, public and community service and humanitarian activities and
 4             sharing of creative work product; Entertainment services, namely, organizing
 5             contest and incentive award programs for software developers to encourage
 6             the development of software; Publication of educational materials, namely,
 7             publishing of books, journals, newsletters, and electronic articles;
 8             Educational services, in particular, organizing and conducting conferences,
 9             courses, seminars, and online training in the fields of advertising, marketing,
10             social networking, the internet, and social media, and distribution of course
11             material in connection therewith; Online journals, namely, weblogs being
12             blogs featuring user-defined entertainment content; Entertainment services,
13             namely, providing online virtual reality games and virtual reality content
14             experiences via the internet; Entertainment services, namely, providing online
15             augmented reality games, development and production of interactive
16             multimedia augmented reality entertainment content; Providing an online
17             computer game for use network-wide by network users; Providing online
18             virtual reality games; Providing online augmented reality games; Organizing
19             exhibitions in the field of interactive entertainment, virtual reality, consumer
20             electronics and video game entertainment industries for cultural or
21             educational purposes; Arranging and conducting educational conferences in
22             the fields of software development, virtual reality, augmented reality,
23             artificial intelligence, the internet of things (IoT), and social networking;
24             Organizing exhibitions and events in the field of software development for
25             educational purposes; Educational services, namely, organizing and
26             conducting conferences and seminars in the fields of artificial intelligence and
27             the internet of things; Training in the field of design, advertising and
28             communication technologies; Training in the field of strategic media planning



                                              22
     Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 24 of 48



 1             relating to advertising, marketing and business; Online journals, namely,
 2             blogs featuring advertising, marketing and business; Providing computer,
 3             electronic and online databases in the field of entertainment; Publishing
 4             services, namely, publishing of electronic messages, text, videos, audio and
 5             audio-visual works for others; Entertainment services, namely, providing an
 6             online network environment, namely, web interfaces and mobile interfaces,
 7             for streaming entertainment content and live streaming video of entertainment
 8             events; Organizing live exhibitions and conferences in the fields of culture,
 9             entertainment and social networking for educational purposes; Entertainment
10             services, namely, providing online virtual reality games, development and
11             production of multimedia interactive virtual reality entertainment content;
12             Entertainment services, namely, providing online augmented reality games,
13             development and production of multimedia interactive virtual reality
14             entertainment content; Entertainment services, namely, arranging and
15             conducting of competitions for encouraging use and development of
16             interactive entertainment, virtual reality, augmented reality, consumer
17             electronics, and video game entertainment software and hardware;
18             Organizing exhibitions and events for cultural, educational, or entertainment
19             purposes in the field of virtual reality; Production of video and computer
20             game software; Virtual reality arcade services; Augmented reality arcade
21             services; Virtual reality game services provided online from a computer
22             network; Augmented reality game services provided online from a computer
23             network; Augmented reality video production; Virtual reality video
24             production; Multimedia entertainment software production services;
25             Multimedia production services; Entertainment services in the nature of
26             development, creation, production and post-production services of
27             multimedia entertainment content; Entertainment services, namely, providing
28             online augmented reality games and development and production of



                                             23
     Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 25 of 48



 1             multimedia interactive virtual reality entertainment content ; Entertainment
 2             services, namely, providing software featuring online virtual reality
 3             environments in which users can interact for entertainment purposes;
 4             Entertainment services, namely, providing software featuring online
 5             augmented reality environments in which users can interact for entertainment
 6             purposes; Providing entertainment information from searchable indexes and
 7             databases of information, including text, electronic documents, databases,
 8             graphics, photographic images and audio visual information, via the internet
 9             and communication networks; Providing information about online computer
10             games and video games via computer or communication networks; Arranging
11             and conducting competitions and facilitating events for video gamers and
12             computer game players for entertainment purposes; Organizing exhibitions in
13             the field of interactive entertainment, virtual reality, consumer electronics and
14             video game entertainment industries for cultural or educational purposes;
15             arranging and conducting educational conferences and organizing exhibitions
16             and events in the field of software development for educational purposes;
17             Providing a website featuring non-downloadable entertainment publications
18             in the nature of articles and weblogs about virtual reality technology;
19             Providing a website featuring non-downloadable entertainment publications
20             in the nature of articles and weblogs about augmented reality technology;
21             Entertainment    and    educational    services,   namely,     providing    non-
22             downloadable movies, television shows, webcasts, audiovisual, and
23             multimedia works in the fields of music, sports, art, fashion, current events,
24             recreational activities and general interest via the internet, as well as
25             entertainment information, reviews, and recommendations regarding movies,
26             television shows, webcasts, audiovisual, and multimedia works; Providing
27             computer, electronic and online databases featuring entertainment and
28             recreation information for educational, recreational and amusement use in the



                                              24
     Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 26 of 48



 1             field of entertainment and in the fields of secondary, collegiate, social and
 2             community interest groups
 3          e. International Class 042: Computer services, namely, creating virtual online
 4             communities for registered users to organize groups, meetings, and events,
 5             participate in discussions and engage in social, business and community
 6             networking; Computer services, in particular, hosting electronic websites for
 7             others for organizing and conducting meetings, events and interactive
 8             discussions via the internet and communication networks; Computer services
 9             in the nature of providing temporary use of online non-downloadable
10             software that facilitates the creation of customized electronic personal and
11             group profiles or webpages featuring user-defined or specified information,
12             including, audio, video, images, text, content, and data; Providing online
13             network environments in the nature of web interfaces and mobile interfaces
14             featuring technology that enables online users to create personal profiles
15             featuring social and business networking information, to transfer and share
16             such information among multiple online facilities, to engage in social
17             networking, and to manage their social networking accounts; Providing on-
18             line non-downloadable software for social networking, creating a virtual
19             community, and transmission of audio, video, images, text, content, and data;
20             Application service provider (ASP) services, namely, hosting software
21             applications of others; Application service provider (ASP) featuring software
22             to enable or facilitate the creating, editing, uploading, downloading,
23             accessing, viewing, posting, displaying, tagging, blogging, streaming,
24             linking, annotating, indicating sentiment about, commenting on, embedding,
25             transmitting, and sharing or otherwise providing electronic media or
26             information via the internet and communications networks; Providing
27             temporary use of online non-downloadable software that enables users to
28             transfer personal identity data to and share personal identity data with and



                                             25
     Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 27 of 48



 1             among multiple online facilities; Providing on-line non-downloadable
 2             application programming interface (API) software for electronic messaging
 3             and transmission of audio, video, images, text, content and data; Platform as
 4             a service (PAAS) featuring computer software platforms for electronic
 5             messaging and transmission of audio, video, photographic images, text,
 6             graphics and data; Providing on-line non-downloadable software for
 7             electronic messaging; Providing on-line non-downloadable software for
 8             mapping; Application service provider (ASP) featuring software for mapping;
 9             Providing on-line non-downloadable software for sharing and displaying a
10             user's location, planning activities with other users and making
11             recommendations; Application service provider (ASP) featuring software to
12             enable or facilitate the sharing and displaying a user's location, planning
13             activities with other users and making recommendations; Providing on-line
14             non-downloadable software for social and destination mapping; Application
15             service provider (ASP) featuring software to enable or facilitate social and
16             destination mapping; Providing on-line non-downloadable location-aware
17             software for searching, determining and sharing the location of goods,
18             services and events of interest; Application service provider (ASP) featuring
19             location-aware software for searching, determining and sharing the location
20             of goods, services and events of interest; Providing temporary use of non-
21             downloadable software applications for creating, managing and accessing
22             user-created and administered private groups within virtual communities;
23             Providing on-line non-downloadable software for searching and identifying
24             local and location-based points of interest, events, landmarks, employment
25             opportunities, entertainment, cultural events, shopping and offers; Providing
26             on-line   non-downloadable    software    for   searching   and   identifying
27             employment opportunities; Providing on-line non-downloadable software for
28             identifying and allowing users to contact government representatives;



                                             26
     Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 28 of 48



 1             Providing on-line non-downloadable software for providing a virtual
 2             marketplace; Providing on-line non-downloadable software for providing
 3             location-based weather information; Providing on-line non-downloadable
 4             software for providing, linking to, or streaming news or current events
 5             information; Providing online network environments in the nature of web
 6             interfaces and mobile interfaces featuring technology enabling users to
 7             engage in social networking and manage their social networking content;
 8             Providing on-line non-downloadable software for creating and managing
 9             social media profiles and user accounts; Providing on-line non-downloadable
10             software for viewing and interacting with a feed of electronic media, namely,
11             images, audio-visual and video content, live streaming video, commentary,
12             advertisements, news, and internet links; Application service provider (ASP)
13             featuring software for social networking, managing social networking
14             content, creating a virtual community, and transmission of images, audio-
15             visual and video content, photographs, videos, data, text, messages,
16             advertisements, media advertising communications and information;
17             Platform as a service (PAAS) featuring software platforms for social
18             networking, managing social networking content, creating a virtual
19             community, and transmission of images, audio-visual and video content,
20             photographs, videos, data, text, messages, advertisements, media advertising
21             communications and information; Providing on-line non-downloadable
22             software for uploading, downloading, archiving, enabling transmission of,
23             and sharing images, audio-visual and video content and associated text and
24             data; Providing on-line non-downloadable software for streaming multimedia
25             entertainment content; Providing on-line non-downloadable software for
26             creating and maintaining an online presence for individuals, groups,
27             companies, and brands; Providing on-line non-downloadable software for
28             advertisers to communicate and interact with online communities; Providing



                                             27
     Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 29 of 48



 1             online network environments in the nature of web interfaces and mobile
 2             interfaces featuring temporary use of non-downloadable software for sending
 3             and receiving electronic messages, instant messages, electronic message
 4             alerts and reminders, photographs, images, graphics, data, audio, videos and
 5             audio-visual content via the internet and communication networks; Providing
 6             on-line non-downloadable software applications for social networking,
 7             creating a virtual community, and transmission of virtual content and data;
 8             File sharing services, namely, providing online network environments in the
 9             nature of web interfaces and mobile interfaces for others featuring technology
10             enabling users to upload and download electronic files; Computer services,
11             namely, hosting electronic on-line websites for others for interactive
12             discussions   via   communication     networks;    Providing    online   non-
13             downloadable software for social networking; Computer services, namely,
14             creating an online community for registered users to engage in social
15             networking; Providing on-line non-downloadable software for online
16             charitable fundraising and making financial donations; User verification
17             services, namely, providing user authentication of personal identification
18             information using single sign-on technology for online software applications;
19             Design and development of computer hardware and software; Computer
20             services, namely, providing search engines for obtaining data via the internet
21             and communications networks; Providing search engine services, namely,
22             providing information from searchable indexes and databases of information,
23             including text, electronic documents, databases, graphics, electronic media,
24             images and audio visual content, via the internet and communications
25             networks; Providing temporary use of online non-downloadable e-commerce
26             software to allow users to perform electronic business transactions via the
27             internet and communications networks; Computer services, in particular,
28             application service provider featuring application programming interface



                                             28
     Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 30 of 48



 1             (API) software to allow users to perform electronic business transactions via
 2             a global computer network; Software as a service (SAAS) services featuring
 3             software for sending and receiving electronic messages, notifications and
 4             alerts and for facilitating electronic business transactions via the internet and
 5             communications networks; Providing temporary use of online, non-
 6             downloadable software for use in designing, managing, measuring, analyzing,
 7             disseminating, and serving advertising of others; Application service provider
 8             featuring application programming interface (API) software for managing,
 9             tracking, reporting and measuring media planning, media buying and
10             advertising of others; Online ad-buying platform provider, namely, providing
11             non-downloadable software programs for allowing buyers and sellers of
12             online advertising to purchase and sell advertising inventory; Platform as a
13             service (PAAS) featuring computer software platforms for use in purchasing
14             and disseminating advertising; Application service provider (ASP) featuring
15             software for use in buying, selling, designing, managing, tracking, valuing,
16             optimizing, targeting, analyzing, delivery, and reporting of online advertising
17             and marketing; Application service provider (ASP) featuring software for use
18             in designing and managing online advertising and marketing campaigns;
19             Designing and developing computer game software and video game software
20             for use with computers, video game program systems and computer networks;
21             Development of hardware for use in connection with electronic and
22             interactive multimedia games; Electronic and interactive multimedia game
23             development services; Providing websites featuring technology that enables
24             users to upload, modify and share virtual reality content, information,
25             experiences and data; Providing websites featuring technology that enables
26             users to upload, modify and share augmented reality content, information,
27             experiences and data; Design, engineering, research, development and testing
28             services in the field of mobile application software development related to the



                                              29
     Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 31 of 48



 1             use and functionality of hyperlinks; Technical consultation in the field of
 2             mobile application software development related to the use and functionality
 3             of hyperlinks; Providing temporary use of online, non-downloadable software
 4             enabling development, assessment, testing, and maintenance of mobile
 5             software applications for portable computing devices; Providing user
 6             authentication services using single sign-on and software technology for e-
 7             commerce transactions; Providing user authentication services of electronic
 8             funds transfer, credit and debit card and electronic check transactions using
 9             single sign-on and software technology; Application service provider
10             featuring an application programming interface (API) software to allow users
11             to perform electronic business transactions via the internet; Providing
12             temporary use of online, non-downloadable software for processing
13             electronic payments; Platform as a service (PAAS) services featuring
14             computer software to allow users to perform business and e-commerce
15             transactions; Mapping services; Providing temporary use of online, non-
16             downloadable software for making reservations and bookings; Application
17             service provider (ASP) featuring software to enable or facilitate making
18             reservations and bookings; Providing temporary use of online, non-
19             downloadable software for ordering and/or purchasing goods and services;
20             Application service provider (ASP) featuring software to enable or facilitate
21             ordering and/or purchasing goods and services; Providing temporary use of
22             online, non-downloadable computer software for facilitating interaction and
23             communication between humans and AI (artificial intelligence) platforms;
24             Application service provider (ASP) featuring software to enable or facilitate
25             interaction and communication between humans and AI (artificial
26             intelligence) platforms; Design of augmented reality and virtual reality effects
27             for use in modifying photographs, images, videos and audio-visual content;
28             Providing websites featuring technology that enables users to upload, modify



                                              30
     Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 32 of 48



 1             and share virtual reality content and data; Providing websites featuring
 2             technology that enables users to upload, modify and share augmented reality
 3             content and data; Providing online websites featuring technology that gives
 4             users the ability to upload, modify and share mixed reality content and data;
 5             Online video ad-buying platform provider, namely, providing non-
 6             downloadable software programs for allowing buyers and sellers of online
 7             video advertising to purchase and sell video advertising inventory;
 8             Application service provider (ASP) featuring software for use in buying,
 9             selling, tracking, valuing, optimizing, targeting, analyzing, delivery, and
10             reporting of online advertising and marketing; Application service provider
11             (ASP) featuring software for designing and managing online video
12             advertising and marketing campaigns; Providing temporary use of online,
13             non-downloadable software for modifying photographs, images and audio,
14             video, and audio-video content with photographic filters and augmented
15             reality (AR) effects, namely, graphics, animations, text, drawings, geotags,
16             metadata tags, hyperlinks; Providing temporary use of non-downloadable
17             computer software for finding content and content publishers, and for
18             subscribing to content; Providing temporary use of online, non-downloadable
19             software for organizing images, video, and audio-visual content using
20             metadata tags; Computer services, namely, creating a virtual online
21             community for registered users to share, view, subscribe to and interact with
22             images, audio-visual and video content and related data and information;
23             Application service provider (ASP) featuring application programming
24             interface (API) software which facilitates online services for social
25             networking, developing software applications; Rental of software that gives
26             users the ability to upload, edit, and share images, videos and audio-visual
27             content; Computer services, namely, maintaining websites featuring online
28             user-defined content, advertisements, and social media feeds for others;



                                             31
     Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 33 of 48



 1             Providing temporary use of online, non-downloadable software for taking
 2             photographs and recording audio, audio-visual and video content; Providing
 3             temporary use of online, non-downloadable personal assistant software for
 4             searching the internet, making appointments and reservations, facilitating
 5             purchases, providing customer-specific information to meet individual need
 6             including customer-specific reminders; Providing temporary use of online,
 7             non-downloadable social assistant software for searching the internet, making
 8             appointments and reservations, facilitating purchases, providing customer-
 9             specific information to meet individual need including customer-specific
10             reminders; Providing temporary use of online, non-downloadable e-
11             commerce software to allow users to perform electronic business transactions
12             via the internet; Providing temporary use of online non-downloadable
13             software for accessing, collecting, displaying, editing, linking, modifying,
14             organizing, tagging, streaming, sharing, storing, transmitting, and otherwise
15             providing electronic media, photographs, images, graphics, audio, videos,
16             audio-visual content, data and information via the internet and
17             communication networks; Providing temporary use of online, non-
18             downloadable software for use in facilitating voice over internet protocol
19             (VOIP) calls, phone calls, video calls, text messages, electronic message,
20             instant message, and online social networking services; Application service
21             provider (ASP) services featuring software to enable or facilitate voice over
22             internet protocol (VOIP) calls, phone calls, video calls, text messages,
23             electronic message, instant message, and online social networking services;
24             Computer services, namely, providing information in the fields of information
25             technology and software development via the internet and communication
26             networks; Providing temporary use of online, non-downloadable software for
27             use in taking and editing photographs and recording and editing videos;
28             Application service provider (ASP) featuring software to enable or facilitate



                                             32
     Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 34 of 48



 1             taking and editing photographs and recording and editing videos; Design and
 2             development of computer game hardware and software; Design and
 3             development of virtual reality hardware and software; Design and
 4             development of video game hardware and software; Computer services in the
 5             nature of providing customized online web pages featuring user-defined or
 6             specified information, personal profiles, virtual reality content, and
 7             augmented reality content and data; Computer programming services for
 8             creating virtual reality videos and games; Design and development of
 9             augmented reality hardware and software; Development of interactive
10             multimedia software; Maintenance and repair of computer software;
11             Providing temporary use of online, non-downloadable software for
12             transmitting, sharing, receiving, downloading, displaying, interacting with
13             and transferring content, text, visual works, audio works, audiovisual works,
14             literary works, data, files, documents and electronic works; Computer
15             services, namely, providing information in the fields of information
16             technology and software development via a global computer network;
17             Technical support services, namely, troubleshooting in the nature of
18             diagnosing computer hardware and software problems; Computer services,
19             namely, cloud hosting provider services; Providing temporary use of online
20             non-downloadable cloud computing software for electronically storing data;
21             Providing temporary use of online non-downloadable cloud computing
22             software for creating virtual and augmented reality applications and
23             environments; Application service provider, namely, hosting, managing,
24             developing, and maintaining software applications, software, web sites, and
25             database software in the fields of wireless communication, mobile
26             information access, and remote data management for wireless delivery of
27             content to handheld computers, laptops and mobile electronic devices;
28             Application service provider (ASP) featuring software for social networking;



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     Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 35 of 48



 1             Providing an online network environment in the nature of websites featuring
 2             technology that gives users the ability to upload, modify and share audio,
 3             video, photographic images, text, graphics and data; Providing temporary use
 4             of online non-downloadable software and applications for instant messaging,
 5             voice over internet protocol (VOIP), video conferencing, and audio
 6             conferencing; Data encryption services; Providing temporary use of online,
 7             non-downloadable software and applications for customer relationship
 8             management (CRM); Application service provider (ASP) featuring software
 9             for customer relationship management (CRM); Providing temporary use of
10             online, non-downloadable online software platform that gives users the ability
11             to post ratings, reviews, referrals and recommendations relating to businesses,
12             restaurants, service providers, events, public services and government
13             agencies; Computer services, in particular, application service provider
14             featuring application programming interface (API) software for customer
15             relationship management (CRM); Hosting of digital content on the internet;
16             Computer services, namely, providing remote management of information
17             technology devices of others via computer networks, wireless networks or the
18             internet; Providing temporary use of online, non-downloadable software for
19             facilitating and arranging for the financing and distribution of fundraising and
20             donations; Rental of photography and/or videography kiosks being computer
21             hardware for capturing, uploading, editing and sharing of pictures and videos;
22             Providing technical advice regarding the repair and maintenance of
23             communications equipment
24          f. International Class 045: Internet-based social introduction and networking
25             services; Online social networking services; Providing information in the
26             form of databases featuring information in the fields of social networking and
27             social introduction; Providing information in the field of personal
28             development, namely, self-improvement and self-fulfillment; Providing



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      Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 36 of 48



 1                   concierge services for others comprising making requested personal
 2                   arrangements to meeting individual needs in the nature of booking
 3                   reservations, facilitating purchases, arranging deliveries, and providing
 4                   customer-specific information to meet individual needs, including customer-
 5                   specific reminders
 6          32.      Facebook’s filing of the 2019 FB Application as an intent-to-use application
 7   rather than an application based on use in commerce supports an inference that, as of the
 8   November 4, 2019 filing date, Facebook was not using the FB Mark in commerce in
 9   connection with the services listed. If Facebook was using the FB Mark in commerce for
10   the services listed, it would have filed its application under 15 U.S.C. § 1051(a) based on
11   that use in commerce, rather than filing its application as an intent-to-use application under
12   15 U.S.C. § 1051(b).
13          33.      In connection with an intent-to-use application, an applicant is required to
14   submit a declaration under penalty of perjury attesting, inter alia, that the applicant has a
15   bona fide intention to use the mark in commerce on or in connection with the goods/services
16   in the application. In connection with the 2019 FB Application, Facebook filed such a
17   declaration made by its Associate General Counsel, Scott Minden, on Facebook’s behalf on
18   November 4, 2019.
19          34.      The 2019 FB Application includes the following services which overlap with,
20   or in some cases are nearly identical to, those in the FB Registrations:
21                a. ’777 Registration:
22                          International Class 035: “Promoting the goods and services of others
23                          over the Internet”
24                   2019 FB Application:
25                          International Class 035: “Promoting the goods and services of others
26                          via computer and communication networks; . . . Online advertising
27                          services and promoting the goods and services of others via the
28                          internet; . . .”



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     Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 37 of 48



 1          b. ’235 Registration:
 2                    International Class 038: “Providing online chat rooms and electronic
 3                    bulletin boards for transmission of messages among registered users in
 4                    the fields of collegiate life, general interest, classifieds, virtual
 5                    community, and for social networking; and peer-to-peer photo sharing
 6                    services, namely, electronic transmission of digital images among
 7                    Internet and mobile device users”
 8             2019 FB Application:
 9                    International Class 038: “. . . Providing online chat rooms, instant
10                    messaging services, and electronic bulletin boards for transmission of
11                    messages among users in the field of general interest; . . . Peer-to-peer
12                    photo and data sharing services, namely, electronic transmission of
13                    digital photo files, graphics and audio content among internet
14                    users; . . .”
15          c. ’764 Registration:
16                    International Class 042: “Computer services, namely, hosting online
17                    web facilities for others for organizing and conducting online
18                    meetings, gatherings, and interactive discussions; computer services in
19                    the nature of customized web pages featuring user defined
20                    information, personal profiles and information”
21             2019 FB Application:
22                    International Class 042: “Computer services, namely, creating virtual
23                    online communities for registered users to organize groups, meetings,
24                    and events, participate in discussions and engage in social, business
25                    and community networking; Computer services, in particular, hosting
26                    electronic websites for others for organizing and conducting meetings,
27                    events and interactive discussions via the internet and communication
28                    networks; Computer services in the nature of providing temporary use



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      Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 38 of 48



 1                          of online non-downloadable software that facilitates the creation of
 2                          customized electronic personal and group profiles or webpages
 3                          featuring user-defined or specified information, including, audio,
 4                          video, images, text, content, and data; . . .”
 5                d. ’234 Registration:
 6                          International Class 045: “Internet based social introduction and social
 7                          networking services”
 8                   2019 FB Application:
 9                          International Class 045: “Internet-based social introduction and
10                          networking services; . . .”
11          35.      Facebook’s filing of the 2019 FB Application as an intent-to-use based
12   application, rather than a use based application, suggests that it had not used the FB Mark
13   in connection with the above-identified services as of November 4, 2019, when the 2019
14   FB Application was filed or that it did not believe that it had existing valid registrations for
15   those services. If Facebook already had existing valid registrations for the FB Mark that
16   covered those services, it would not have needed to include them in the 2019 FB
17   Application.
18          36.      The inclusion of the same or closely overlapping or related services in the
19   2019 FB Application supports an inference that Facebook’s representations to the USPTO
20   in its Statements of Use (and in a declaration of continued use in commerce filed on
21   December 22, 2020 in connection with the ’777 Registration) regarding the FB
22   Registrations were false when made, especially in the context of the deficient specimens
23   and other indicia of nonuse.
24          37.      Moreover, Facebook’s inclusion of over 400 services in its 2019 intent-to-use
25   based application for the FB Mark is a further indicium that its applications to the USPTO
26   were made in bad faith for improper purposes.
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      Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 39 of 48



 1            38.    Upon information and belief, Facebook had no bona fide intent to use the FB
 2   Mark in commerce for each of the identified goods or services in the 2019 FB Application
 3   or in the FB Registrations.
 4                   E.    Facebook Publishes No Guidelines on How to Use the FB Mark,
 5                         in Contrast to its Facebook Trademark and Other Marks it Uses
 6            39.    Facebook’s public Brand Resource Center website, en.facebookbrand.com,
 7   provides guidelines which “outline the rules” for using brand assets with respect to each of
 8   the following brands: (1) “the Facebook company,” (2) “the Facebook app,” (3) Messenger,
 9   (4) Instagram, (5) WhatsApp, (6) Oculus, and (7) Workplace.
10            40.    Facebook’s Brand Resources page for “the Facebook company” identifies the
11   Facebook wordmark as a “brand asset” and provides guidelines for how the wordmark
12   should         be     used.      See      https://en.facebookbrand.com/facebookcompany/;
13   https://en.facebookbrand.com/facebookcompany/assets/facebook-
14   wordmark?audience=company-landing. Facebook’s Brand Resources page for “the
15   Facebook app” shows approved “brand assets” that may be used in connection with
16   Facebook’s services and provides specific phrases to be used when “[t]alking about
17   Facebook” and copy standards to be used with respect to the word “Facebook.”
18   https://en.facebookbrand.com/facebookapp/.
19            41.    By contrast, Facebook’s Brand Resources pages provide no guidelines or
20   instructions on how to use any alleged FB Mark as a trademark or service mark in
21   connection with Facebook company, the Facebook app, or any services provided by
22   Facebook. Nor is the FB Mark included among the “brand assets” on these pages, in contrast
23   to the Facebook trademark/service mark.
24            42.    This is further indicia that Facebook is not using the alleged FB Mark in
25   commerce in connection with the services or goods in the FB Registrations. Facebook does
26   not bother to provide guidelines for the use of the FB Mark as it does for the Facebook
27   trademark/service mark.
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      Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 40 of 48



 1          43.    If a visitor to the Facebook Brand Resources webpages scrolls all the way to
 2   the bottom of the page, there is a link to a page entitled “Our Trademarks.” This page
 3   includes “FB” in a glossary listing numerous marks in which Facebook and its affiliate
 4   companies claim trademark rights, including common English words such as “Face” and
 5   “Book.” The page states that these purported trademarks may not be used without
 6   Facebook’s permission. Facebook’s assertion of exclusive trademark rights in common
 7   words is another example of its trademark overreach.
 8                 F.     Facebook’s Recent Uses of “FB” Are Not Trademark Uses of the
 9                        FB Mark in Commerce for the Services in the FB Registrations
10          44.    While Facebook does own domain names incorporating the letters FB (e.g.,
11   fb.com, which re-directs to facebook.com) the use of “FB” in a domain name is not a use
12   of the FB Mark in commerce to identify the source of goods or services. To qualify as a
13   trademark/service mark use, the asserted mark must be used to identify and distinguish the
14   trademark owner’s goods and services. Mere use of a domain name incorporating an
15   asserted mark is not a use of the mark in commerce. Domain name use merely identifies an
16   address or location on the Internet.
17          45.    After WhoisGuard filed its original Counterclaim for cancellation in this
18   action, Facebook identified an image of “FB” in a rainbow-colored circle design used as a
19   profile picture on the Facebook company’s social media pages, including the Facebook
20   company’s own Facebook page:
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      Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 41 of 48



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15          46.    In November 2019 Facebook introduced new corporate branding to
16   distinguish the “Facebook company” from the “Facebook app”—likely hoping to distract
17   the public from the Cambridge Analytica data scandal, the $5 billion penalty assessed
18   against Facebook by the Federal Trade Commission for privacy violations, controversy
19   surrounding Facebook’s policies for political advertising, and other scandals.
20          47.    On information and belief, Facebook began using the social media profile
21   picture identified in paragraph 45 above in 2020 in connection with the Facebook
22   company’s new corporate branding.
23          48.    The social media profile pictures identified by Facebook do not constitute a
24   trademark use in commerce of the FB Mark in connection with the services in the FB
25   Registrations. In relation to cancellation for abandonment, “a mark shall be deemed to be
26   in use in commerce . . . on services when it is used or displayed in the sale or advertising of
27   services and [i] the services are rendered in commerce, or [ii] the services are rendered in
28   more than one State or in the United States and a foreign country and the person rendering



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      Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 42 of 48



 1   the services is engaged in commerce in connection with the services.” 15 U.S.C. § 1127.
 2   Moreover, “use in commerce” requires bona fide use of the mark made in the ordinary
 3   course of trade, and not made merely to reserve a right in a mark. Id.
 4          49.       The social media pages do not display or use the FB Mark in the sale or
 5   advertising of the services in the FB Registrations. For example, as to the ’777 Registration,
 6   a December 2, 2020 post on Facebook’s Facebook page cited by Facebook’s attorneys
 7   which asks users to share “what makes the business they love special” does not constitute a
 8   use or display of the FB Mark in commerce in connection with the sale or advertising of
 9   Facebook’s service of “promoting the goods and services of others over the Internet.” Upon
10   information and belief, Facebook has not rendered the services in the FB Registrations in
11   commerce under the FB Mark.
12          50.       Moreover, the profile picture of “FB” surrounded in a rainbow-colored circle,
13   like Facebook’s other alleged specimens of use, conveys a different commercial impression
14   than the FB Mark under the FB Registrations. Consequently, the rainbow-colored design
15   image is materially different from and is not the FB Mark. Notably, Facebook chooses not
16   to use the circle R symbol (®) in connection with the social media profile pictures identified
17   by Facebook.
18          51.       The other purported examples of “use in commerce” of the FB Mark
19   identified by Facebook are similarly defective. For example, Facebook, through its attorney,
20   identified the use of “FB” as the stock ticker symbol for Facebook, Inc., which does not
21   function as a trademark or the identification of the source of the services under the FB
22   Registrations.
23          52.       Finally, Facebook, through its attorney, identified an FB “favicon,” or small
24   image file, associated with the Facebook corporate Brand Resources website. In certain web
25   browsers, the favicon is visible in the browser URL address bar, bookmarks list, or tab in
26   which the website is loaded:
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      Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 43 of 48



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14          53.    The “FB” favicon is not a trademark or service use of the FB Mark in
15   commerce in connection with any of the services in the FB Registrations. While Facebook
16   currently uses the “FB” favicon on its corporate websites, it does not use or display the
17   “FB” favicon in the sale or advertising of services. Notably, the facebook.com website does
18   not use the “FB” favicon. Visitors to Facebook’s corporate website are likely to perceive
19   the “FB” favicon as an indicium of Facebook, Inc.’s corporate or trade name, not as a
20   service mark for the services in the FB Registrations.
21                                 FIRST CAUSE OF ACTION
22                              (Cancellation of FB Registrations)
23                                   Pursuant to 15 U.S.C. § 1119
24          54.    WhoisGuard repeats and realleges each of the allegations set forth in the
25   preceding paragraphs of this Counterclaim as if fully set forth herein.
26          55.    This Court has the power to order cancellation of the FB Registrations
27   pursuant to 15 U.S.C. § 1119.
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      Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 44 of 48



 1          56.    The FB Registrations are not incontestable. While the FB Registrations are
 2   more than five years old, Facebook has not filed a declaration of incontestability for any of
 3   the FB Registrations pursuant to Section 15 of the Lanham Act, 15 U.S.C. § 1065.
 4          57.    On October 30, 2014, Facebook filed a Statement of Use in support of its ’777
 5   Registration. In the Statement of Use, Facebook’s Associate General Counsel, Kathleen
 6   Johnston, claimed on Facebook’s behalf that “the applicant or the applicant’s related
 7   company or licensee is using the mark in commerce on or in connection with all the
 8   goods/services in the application or notice of allowance, or as subsequently modified, and
 9   such use by the applicant’s related company or licensee inures to the benefit of the
10   applicant,” and that “the specimen(s) shows the mark as used on or in connection with the
11   goods/services in commerce.”
12          58.    On November 7, 2014, Facebook filed a Statement of Use in support of its
13   ’764 Registration in which Ms. Johnston made the same representations on Facebook’s
14   behalf with respect to the services in the ’764 Registration.
15          59.    On May 12, 2015, Facebook filed a Statement of Use in support of its ’234
16   Registration in which Ms. Johnston made the same representations on Facebook’s behalf
17   with respect to the services in the ’234 Registration.
18          60.     On May 12, 2015, Facebook filed a Statement of Use in support of its ’235
19   Registration in which Ms. Johnston made the same representations on Facebook’s behalf
20   with respect to the services in the ’235 Registration.
21          61.    Facebook did not subsequently modify any services in its Statements of Use
22   for the FB Registrations.
23          62.    Upon information and belief, neither Facebook nor any related company or
24   licensee was in fact using the FB Mark in commerce in connection with any of the services
25   described in the Statements of Use for the FB Registrations.
26          63.    Ms. Johnston must have known that the Statements of Use she signed were
27   false. As Facebook’s Associate General Counsel who signed numerous filings to the
28   USPTO on Facebook’s behalf regarding Facebook’s purported bona fide intentions and



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      Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 45 of 48



 1   ongoing efforts to use its marks in commerce, including for the alleged FB Mark, Ms.
 2   Johnston necessarily would have been aware that Facebook did not use the FB Mark as a
 3   service mark in commerce for the identified services. Additionally, Ms. Johnston and
 4   Facebook were put on notice that the FB Newswire screenshots were unacceptable
 5   specimens that did not demonstrate use in commerce of the FB Mark as early as November
 6   12, 2014, when the Examining Attorney for the ’777 Registration rejected the specimen for
 7   this reason.
 8          64.      Each time Facebook submitted a request for extension of time to submit a
 9   Statement of Use and specimens of alleged proof of use in commerce for the FB
10   Registrations, as described in paragraphs 12-17 above, Ms. Johnston represented to the
11   USPTO on Facebook’s behalf that she believed Facebook had “a continued bona fide
12   intention” to use the FB Mark in commerce in connection with all of the services in the
13   respective FB Registrations (either directly, or through its “related company or licensee”)
14   and that it was making ongoing efforts to use the FB Mark in commerce for all of the
15   services.
16          65.      On information and belief, Facebook did not have a bona fide intention to use
17   the FB Mark in commerce for the identified services in the FB Registrations, either prior to
18   filing the application or at the times it submitted its requests for extensions to the USPTO.
19          66.      On information and belief, the representations were knowingly false and
20   made with the subjective intent to deceive the USPTO into granting the FB Registrations.
21   Facebook’s fraudulent intent is based on the following facts:
22                a. that in November 2019, Facebook submitted its application for the FB Mark
23                   on an intent-to-use basis for services which are identical to or which overlap
24                   with or are related to those in the FB Registrations, from which it can be
25                   inferred that Facebook was not actually using the FB Mark in commerce in
26                   connection with those services, or alternatively that it did not believe that it
27                   had an existing valid registration that covered the services identified in the
28                   FB Registrations;



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      Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 46 of 48



 1                b. the FB Newswire page screenshots Facebook submitted as alleged specimens
 2                   do not show trademark use/function in commerce of the FB Mark in
 3                   connection with the identified services;
 4                c. Facebook’s trademark counsel is sophisticated and must have known that the
 5                   representations were false, particularly after the Examining Attorneys for the
 6                   first two applications rejected the initial FB Newswire screenshots submitted
 7                   as specimens as unacceptable;
 8                d. The FB Newswire page ceased operating after the USPTO granted the FB
 9                   Registrations;
10                e. It appears that Facebook’s primary use of the FB Registrations has been for
11                   initiating domain name dispute proceedings, which is not a trademark use in
12                   commerce of the FB Mark for the listed services in commerce; and
13                f. Facebook’s conduct in connection with the FB Registrations is part of a larger
14                   pattern of trademark abuse and overreach by Facebook.
15          67.      In addition, in the context of all of the above facts, Facebook’s fraudulent
16   intent is further supported by Facebook’s filing of numerous requests for extensions of time
17   to file its Statements of Use and specimens of use based on identical, boilerplate reasons.
18   In particular, for the ’234 and ’235 Registrations, Facebook sought requests for extensions
19   of time as late as April 8, 2015 in which it represented that it had a continued bona fide
20   intention to use the FB Mark, but when it ultimately filed its Statements of Use for those
21   registrations it represented that it had first used the FB Mark in commerce on “04/00/2014.”
22   These facts, together with all of the other indicia described above, suggest that Facebook
23   lacked a progressive and ongoing bona fide intent to use the FB Mark in commerce for the
24   identified services.
25          68.      Facebook caused the fraudulent Statements of Use and requests for extension
26   to be filed with the intent of deceiving the USPTO to obtain the FB Registrations.
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      Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 47 of 48



 1          69.      On information and belief, Facebook has not used the FB Mark as a service
 2   mark for the identified services under the FB Registrations for a period of at least three
 3   consecutive years.
 4          70.      On information and belief, Facebook has no intent to use the FB Mark as a
 5   service mark for the services identified in the FB Registrations.
 6          71.      On information and belief, Facebook has abandoned the FB Mark for the
 7   services identified in the FB Registrations.
 8          72.      For the reasons above, the FB Registrations are invalid.
 9          73.      WhoisGuard has been damaged and will likely continue to be damaged by the
10   FB Registrations and may assert a counterclaim seeking cancellation of the FB
11   Registrations because Facebook is suing WhoisGuard in this action for cybersquatting and
12   trademark infringement based on the FB Registration and is relying, in part, on the FB
13   Registrations as a basis for its claims against WhoisGuard.
14          74.      Accordingly, WhoisGuard is entitled to an order from this Court canceling
15   the FB Registrations.
16                           WHOISGUARD’S PRAYER FOR RELIEF
17          WHEREFORE, WhoisGuard hereby requests that judgment be entered in its favor
18   and the following relief be provided:
19                a. Cancellation of Facebook’s federal trademark Registration Nos. 4,659,777,
20                   4,764,764, 4,782,234, and 4,782,235;
21                b. For recovery of WhoisGuard’s costs of suit, including its attorneys’ fees to
22                   the extent recoverable pursuant to 15 U.S.C. § 1117 and any other
23                   applicable provision of law;
24                c. For damages under 15 U.S.C. § 1120; and
25                d. For such other and further relief as the Court deems just and equitable.
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      Case 2:20-cv-00470-GMS Document 68 Filed 01/13/21 Page 48 of 48



 1                                      JURY DEMAND
 2         WhoisGuard demands a trial by jury of all issues so triable pursuant to Rule 38 of
 3   the Federal Rules of Civil Procedure.
 4
 5   Dated: January 13, 2021
                                             ROME & ASSOCIATES, A.P.C.
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 7
                                             By: s/ Eugene Rome
 8
                                                Eugene Rome
 9                                              Sridavi Ganesan
                                                Brianna Dahlberg
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11
                                             FENNEMORE CRAIG, P.C.
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13
                                             By: s/ Ray Harris
14                                              Ray K. Harris
15                                              Mario C. Vasta

16                                              Attorneys for Defendants
                                                Namecheap, Inc. and Whoisguard, Inc.
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